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    EXHIBIT 1
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                    1   WARRINGTON S. PARKER III (SBN 148003)
                          wparker@crowell.com
                    2   JOANNA ROSEN FORSTER (SBN 244943)
                          jforster@crowell.com
                    3   CROWELL & MORING LLP
                        3 Embarcadero Center, 26th Floor
                    4   San Francisco, CA 94111
                        Telephone: 415.986.2800
                    5   Facsimile: 415.986.2827

                    6   MICHAEL W. MCCONNELL (pro hac vice pending)
                          mcconnell@law.stanford.edu
                    7   559 Nathan Abbott Way
                        Stanford, CA 94305
                    8   Telephone: (650) 736-1326

                    9   Attorneys for AMICI CURIAE

                   10

                   11                                  UNITED STATES DISTRICT COURT

                   12                            NORTHERN DISTRICT OF CALIFORNIA

                   13                                     SAN FRANCISCO DIVISION

                   14
                        STATE OF CALIFORNIA and GAVIN                    Case No. 3:25-cv-03372-JSC
                   15   NEWSOME, in his official capacity as
                        Governor of California,                          JOINT BRIEF OF AMICI CURIAE
                   16                                                    FORMER SENATOR AND
                                         Plaintiffs,                     GOVERNOR GEORGE F. ALLEN,
                   17                                                    PROFESSOR STEVEN CALABRESI,
                              v.                                         ATTORNEY JOSHUA A.
                   18                                                    CLAYBOURN, FORMER SENATOR
                        DONALD J. TRUMP, in his official capacity        AND AMBASSADOR TO THE UNITED
                   19   as President of the United States, et al.,       NATIONS JOHN C. DANFORTH,
                                                                         PROFESSOR RICHARD A. EPSTEIN,
                   20                    Defendants.                     FORMER SENATOR AND
                                                                         SECRETARY OF DEFENSE CHARLES
                   21                                                    T. HAGEL, PROFESSOR AND
                                                                         FORMER DEAN HAROLD HONGJU
                   22                                                    KOH, PROFESSOR GERARD N.
                                                                         MAGLIOCCA, PROFESSOR AND
                   23                                                    FORMER JUDGE MICHAEL W.
                                                                         MCCONNELL, FORMER ATTORNEY
                   24                                                    GENERAL AND JUDGE MICHAEL B.
                                                                         MUKASEY, PROFESSOR ALAN
                   25                                                    SYKES, FORMER JUDGE JOHN
                                                                         DANIEL TINDER, FORMER WHITE
                   26                                                    HOUSE COUNSEL PETER
                                                                         WALLISON, FORMER STATE
                   27                                                    DEPARTMENT COUNSELOR AND
                                                                         DIRECTOR OF THE 9/11
                   28                                                    COMMISSION PHILIP ZELIKOW IN
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                                                                                       MOT FOR PRELIMINARY INJUNCTION;
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                    1                                               SUPPORT OF PLAINTIFFS’ MOTION
                                                                    FOR PRELIMINARY INJUNCTION
                    2
                                                                    Date: June 26, 2025
                    3                                               Time: 10:00 a.m.
                                                                    Ctrm: Courtroom 8, 19th Floor
                    4                                               Judge: Hon. Jacqueline Scott Corley

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                    1                                     INTEREST OF AMICI CURIAE

                    2             Amici are constitutional scholars, legal historians, public lawyers, retired federal appellate

                    3   judges, a former United States Attorney General, and three former United States Senators united

                    4   by a common conviction: the endurance of the American Republic depends not only on elections

                    5   or policy outcomes, but on the faithful preservation of its constitutional structure. They span the

                    6   ideological spectrum, joined not by partisanship but by a common concern over the erosion of

                    7   Congress’s Article I authority.

                    8             Amici do not appear to defend or oppose any particular trade policy. They file this brief

                    9   because they believe the Constitution draws bright lines between legislative and executive

                   10   power—and that those lines are being blurred in ways that threaten democratic accountability

                   11   itself.

                   12                         INTRODUCTION AND SUMMARY OF ARGUMENT

                   13             This dispute is not about the wisdom of tariffs or the politics of trade. It is about who

                   14   holds the power to tax the American people. May a President, absent a clear delegation from

                   15   Congress and without guidance that amounts to an intelligible principle, unilaterally impose

                   16   sweeping tariffs under laws never designed for that purpose? This is not a debate over outcomes

                   17   but a test of structure. It asks not what should happen, but who decides.

                   18             The Constitution gives a clear answer. Article I vests Congress—not the President—with

                   19   the power to “lay and collect Taxes, Duties, Imposts and Excises,” and to “regulate Commerce

                   20   with foreign Nations.” Unless Congress has delegated that authority through a valid and clearly

                   21   bounded framework, the President may not impose tariffs. As the Supreme Court made plain in

                   22   Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579 (1952), presidential power must stem

                   23   from the Constitution or an act of Congress. Here, it does neither.

                   24             In April 2025, President Trump proclaimed a sweeping tariff regime that touches nearly

                   25   every imported good sold in the United States. The measures include a 10% baseline tariff on all

                   26   imports and a 34% duty on Chinese goods (raising total tariffs to 65%). These levies did not arise

                   27   from legislation. They were not the product of congressional debate or any statutory process. Nor

                   28   were they supported by specific findings under existing trade laws. On April 9, 2025, President
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                    1   Trump announced a 90-day pause on most of these tariffs, except for those on Chinese imports,

                    2   which were increased to 145%. The baseline 10% tariffs on nearly every country remained in

                    3   effect.

                    4             But no statute authorizes what the President has done. The laws cited permit limited and

                    5   targeted actions under narrow conditions. They do not authorize sweeping economic realignment.

                    6   They do not permit unilateral taxation of vast sectors of the U.S. economy. These duties came not

                    7   from Congress, but from a claim of executive power detached from constitutional limits.

                    8             The International Emergency Economic Powers Act (IEEPA), the central statute invoked,

                    9   cannot bear this weight. Enacted in 1977 to rein in presidential overreach, IEEPA allows the

                   10   President to impose sanctions in response to genuine emergencies—not to reorder the economy in

                   11   response to long-term trends.

                   12             The history is revealing. Reacting to President Nixon’s unprecedented assertion of

                   13   authority under the Trading With The Enemy Act of 1917 (TWEA) to impose import surcharges,

                   14   Congress passed new legislation “for use in time of national emergency which are both more

                   15   limited in scope than those of [TWEA] and subject to various procedural limitations.” H.R. Rep.

                   16   No. 95-459, at 2 (1977) (emphasis added). Notably, the Trade Act of 1974 explicitly granted the

                   17   executive authority to increase tariffs in response to balance of trade deficits, subjecting that

                   18   authority to strict procedural, substantive, and temporal limits (not satisfied here), while IEEPA

                   19   was confined to non-tariff economic sanctions, To infer that Congress delegated sweeping

                   20   emergency tariff authority to the President would precisely invert what really happened. Indeed, if

                   21   IEEPA were interpreted to allow the President to impose, revoke, or adjust tariffs at will, it would

                   22   undo the limits on that power embodied in the Trade Act, its sister statute, and produce Nixonian

                   23   power on steroids.

                   24             The core principle urged by amici is this: IEEPA and related statutes do not grant the

                   25   President the power to impose tariffs of this kind or scope. That power remains squarely within

                   26   the legislative domain. The Constitution places decisions about taxation and commerce in

                   27   Congress’s hands—not as a formality, but as a structural safeguard of democratic accountability.

                   28             The President’s actions here violate the limits of that structure. The statutes he invoked
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                    1   were never meant to authorize unilateral lawmaking. Yet he used them to bypass bicameralism

                    2   and presentment—the very processes that make government accountable. He now claims an

                    3   open-ended emergency power that, if upheld, would let any President reshape the economy

                    4   without Congress.

                    5           To be clear, amici do not argue that the Executive lacks all authority under IEEPA or

                    6   Section 301. Congress has delegated some powers under specific conditions. But those powers do

                    7   not include imposing across-the-board tariffs untethered from any statutory criteria. They do not

                    8   include the authority to bypass Congress in matters of taxation. And they do not authorize the

                    9   President to override constitutional structure by invoking an “emergency.”

                   10           This case is not about trade any more than Youngstown was about steel or Alabama Ass’n

                   11   of Realtors v. Dep’t of Health & Hum. Servs., 594 U.S. 758 (2021) was about landlord-tenant law.

                   12   It is about power—who has it, and who must authorize its use. The principle remains: “[t]he

                   13   President’s power, if any, to issue the order must stem either from an act of Congress or from the

                   14   Constitution itself.” Youngstown, 343 U.S. at 585.

                   15           This case requests this Court apply the principles which have been reaffirmed time and

                   16   again: that Congress makes the law, and the Executive enforces it; that major policies require

                   17   explicit legislation; and that the Constitution does not permit taxation by proclamation. These

                   18   principles are neither new nor partisan. They are the foundation of the American republic.

                   19           The Court should conclude that plaintiffs are likely to succeed on the merits of showing

                   20   that the statutes invoked by the President do not authorize the imposition of general tariffs; that

                   21   such authority remains with Congress; and that the separation of powers is not a matter of

                   22   convenience, but of constitutional command. Accordingly, the Court should grant plaintiffs the

                   23   relief they seek.

                   24                                              ARGUMENT
                   25   I.      Congress, Not the President, Has the Power to Impose Tariffs.
                   26           From the founding of the Republic, the power to impose tariffs—like the power to levy

                   27   taxes—has belonged exclusively to Congress. This is no formality. This nation was born of the

                   28   slogan “No taxation without representation,” which means that the authority to tax, raise revenue,
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                    1    and shape the public’s economic obligations must rest with the people’s elected representatives. 1

                    2           The Constitution is explicit. Article I, Section 8 grants Congress the power “[t]o lay and

                    3    collect Taxes, Duties, Imposts and Excises” and “[t]o regulate Commerce with foreign Nations.”

                    4    U.S. Const. art. I, § 8. These provisions were not afterthoughts—they were foundational. As

                    5    James Madison wrote in The Federalist No. 58, vesting control of taxation in the legislature

                    6    served as a deliberate check on executive power, born of colonial resistance to Crown-imposed

                    7    duties levied without consent. That structural safeguard ensures that only a geographically diverse

                    8    and representative Congress—not the Executive—may impose economic burdens on the people.

                    9           Tariffs fall squarely within this constitutional design. If the Framers had merely used the

                   10    term “taxes,” this would have encompassed tariffs, which are taxes. But the Framers went out of

                   11    their way to list “duties” and “imposts” as within the legislative domain. And no wonder: the

                   12    Framers expected that the “impost,” which meant tariffs, would generate sufficient revenue to pay

                   13    for most of the ordinary operations of the federal government in peacetime. McConnell, supra, at

                   14    101. Tariffs lay at the core of the taxing power.

                   15           Congress historically guarded this authority with care. The Tariff Act of 1789—among the

                   16    first laws passed under the new Constitution—imposed duties across a broad range of imported

                   17    goods. It was introduced in the House, debated in both chambers, amended, and enacted through

                   18    the full machinery of legislative deliberation. For more than a century, tariff policy remained one

                   19    of the most visible and contested areas of congressional action, often shaping party lines and

                   20    national elections. Tariffs were the centerpiece of Henry Clay’s “American System,” and the so-

                   21    called “Tariff of Abominations” was the impetus for the Nullification Crisis of 1832-33. Whether

                   22    popular or unpopular, it was Congress—not the President—that decided which goods to tax, at

                   23    what rates, and for what ends.

                   24           From the beginning of the Republic, Congress has distinguished between delegations of

                   25    authority to impose taxes, including tariffs, which are the core of Congress’s power of the purse,

                   26    and delegations of authority to impose embargoes and other non-tax economic sanctions, which

                   27
                         1
                          See Michael W. McConnell, THE PRESIDENT WHO WOULD NOT BE KING: EXECUTIVE POWER
                   28    UNDER THE CONSTITUTION 100-107, 214-220 (2020) (explaining that the Constitution vests the
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                         powers to tax and regulate commerce in Congress as part of its core structural design).
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                    1    inextricably relate to foreign policy, a largely presidential domain. Both require express

                    2    congressional delegation, but the President has been given far more latitude to impose and

                    3    remove embargoes in the service of foreign policy objectives, while tariff authority has invariably

                    4    been narrowly limited in time, amount, and purpose.

                    5           The Trade Act of 1974 and the Trade Expansion Act of 1962 exemplify this approach.

                    6    They allow the Executive to address unfair trade practices or national security threats, but only

                    7    within carefully prescribed limits. Even then, these statutes do not—and constitutionally cannot—

                    8    authorize the President to enact a sweeping tariff regime absent new legislation.

                    9           The Framers’ decision to allocate lawmaking to a representative body and execution to a

                   10    single executive serves practical as well as theoretical purposes. Legislatures – especially

                   11    bicameral legislatures – are by their nature deliberative, and therefore slower to change course, by

                   12    comparison to the executive, whose singular virtues include “energy” and “dispatch.” They well

                   13    understood what Madison called the “mischievous effects of a mutable government,” and sought

                   14    to guard against it by the bicameral structure of Congress. THE FEDERALIST, No. 62, at 420 (Jacob

                   15    E. Cooke ed. 1961). As Madison explained, “It will be of little avail to the people, that the laws

                   16    are made by men of their own choice, if the laws . . . be repealed or revised before they are

                   17    promulgated, or undergo such incessant changes that no man, who knows what the law is to-day,

                   18    can guess what it will be to-morrow.” He posed the question: “What prudent merchant will

                   19    hazard his fortunes in any new branch of commerce when he knows not but that his plans may be

                   20    rendered unlawful before they can be executed? What farmer or manufacturer will lay himself out

                   21    for the encouragement given to any particular cultivation or establishment, when he can have no

                   22    assurance that his preparatory labors and advances will not render him a victim to an inconstant

                   23    government?” Id. at 421-22. So, too of American merchants and manufacturers today, whose

                   24    decisions are affected by the cost of imported goods and materials. It is not an argument for one

                   25    tariff policy over another to observe the wisdom of the Constitution’s assignment of these powers

                   26    to the branch most likely to pursue a consistent and predictable policy.

                   27    //

                   28    //
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                    1    II.     IEEPA Does Not Authorize Tariffs.

                    2            The Administration’s statutory claim rests on the International Emergency Economic

                    3    Powers Act (“IEEPA”), 50 U.S.C. §§ 1701–1707. That reliance is misplaced. Unlike every statute

                    4    delegating tariff-setting authority, IEEPA makes no mention of tariffs, duties, or imposts. No

                    5    President other than Mr. Trump has ever purported to impose tariffs under IEEPA. Christoper A.

                    6    Casey, et al., The International Emergency Economic Powers Act: Origins, Evolution, and Use

                    7    27 (Cong. Res. Serv. R45618, 2020). The statute was never meant, and has never been

                    8    understood, to authorize the President to impose or revise tariffs. IEEPA’s text, context, and

                    9    legislative history point to a different purpose: to empower the President to block or freeze

                   10    foreign assets and financial transactions in targeted, temporary ways—not to raise revenue or

                   11    rewrite the core terms of international commerce.

                   12            Another statute, the Trade Act of 1974, enacted just before IEEPA, explicitly authorizes

                   13    the executive to raise, lower, or revise tariffs, subject to detailed substantive and procedural

                   14    limitations. To read IEEPA as implicitly granting carte blanche to the President over tariffs

                   15    without any such limitations, whenever he declares the existence of an emergency, would render

                   16    the carefully-wrought provisions of the Trade Act pointless.

                   17            A.      IEEPA Does Not Mention Tariffs—Because It Was Never Meant To.

                   18            IEEPA grants the President certain defined authorities to regulate international economic

                   19    transactions upon declaring a national emergency “to deal with any unusual and extraordinary

                   20    threat … to the national security, foreign policy, or economy of the United States, if the President

                   21    declares a national emergency with respect to such threat.” 50 U.S.C. § 1701(a). Once that

                   22    condition is met, the statute permits the President to “investigate, regulate, or prohibit . . .

                   23    transfers of credit or payments . . . involv[ing] any interest of any foreign country or a national

                   24    thereof, by any person . . . subject to the jurisdiction of the United States.” Id. § 1702(a)(1)(A)(ii).

                   25    The term “emergency” does not extend to every problem that is serious or threatening, but only to

                   26    those that are “sudden, unexpected, or impending.” BLACK’S LAW DICTIONARY (2d ed.). The term

                   27    “regulate . . . importation” of foreign goods does not extend to imposing taxes, but in context

                   28    refers only to the quantitative limitations traditionally part of the President’s foreign affairs
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                    1    authority. See Tom Campbell, Presidential Authority to Impose Tariffs, 83 LA. L. REV. 595

                    2    (2023). Although Congress may use its plenary taxing power to achieve regulatory ends, the

                    3    converse is not true: the power to regulate is not the power to tax.

                    4            Upon a presidential proclamation of emergency under IEEPA, Section 1702(b) permits

                    5    the President to “investigate, regulate, direct and compel, nullify, void, prevent or prohibit” the

                    6    acquisition, use, or transfer of property owned by a foreign nation or individual. This enables the

                    7    executive branch, in a foreign policy crisis, to block transactions, freeze assets, and seize, or

                    8    sequester foreign property. See Patrick A. Thronson, Toward Comprehensive Reform of

                    9    America’s Emergency Law Regime, 46 U. Mich. J. L. Ref. 737, 758 (2013) (“The IEEPA thus

                   10    grants the Executive Branch the power to freeze the assets of, and prohibit financial transactions

                   11    involving, individuals designated by Executive Order. This includes the power to prohibit bank

                   12    payments and transfers of credit insofar as they "involve" an interest of a designated person,

                   13    entity, or country, and to prohibit the holding, use, or transfer of property implicating a relevant

                   14    foreign interest.”) Notably, Congress employed seven different verbs to capture the intended

                   15    types of economic sanction, but did not include the term “tax” or any of its synonyms. If

                   16    Congress had intended to delegate the power of taxing ordinary commerce, it surely would have

                   17    said so.

                   18            Moreover, all the permitted presidential actions have their effects abroad; IEEPA did not

                   19    authorize the President to tax or regulate the domestic activities or property of Americans. Tariffs,

                   20    unlike the foreign sanctions explicitly authorized under IEEPA, are taxes paid by Americans.

                   21    They fall squarely within Congress’s taxing power and, under the Constitution, require the

                   22    explicit consent of the people’s representatives.

                   23            The absence of tariff language in IEEPA stands in sharp contrast to statutes where

                   24    Congress has affirmatively granted such power. When Congress intends to authorize duties, it

                   25    says so. Section 301 of the Trade Act of 1974 allows the President to “impose duties or other

                   26    import restrictions.” 19 U.S.C. § 2411(c)(1)(B). Section 201 of that same Act empowers the

                   27    President to “proclaim an increase in, or the imposition of, any duty on the imported article” or to

                   28    “proclaim a tariff-rate quota.” 19 U.S.C. § 2251(a)(3)(A), (B). Similarly, Section 232 of the Trade
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                    1    Expansion Act authorizes the adjustment of “duties” on imports, 19 U.S.C. § 1862(a), and grants

                    2    authority to “adjust the imports.” Id. § 1862(c). In each case, Congress spoke with clarity when it

                    3    intended to delegate authority over tariffs and it encumbered the grant of authority with

                    4    procedural and substantive conditions and prerequisites.

                    5           If IEEPA meant what the government says it means, it would enable the President to

                    6    impose, revoke, or change tariffs for essentially any reason he describes as an emergency, without

                    7    complying with any of the limitations that Congress attached to every statute delegating tariff

                    8    authority. According to this argument, IEEPA silently repealed all those limits, without any

                    9    member of Congress seeming to notice. That interpretation is contrary to the time-honored rule

                   10    that absent “a clearly expressed congressional intention,” Morton v. Mancari, 417 U. S. 535, 551

                   11    (1974), “repeals by implication are not favored,” Universal Interpretive Shuttle Corp. v.

                   12    Washington Metropolitan Area Transit Comm'n, 393 U. S. 186, 193 (1968). An implied repeal

                   13    will only be found where provisions in two statutes are in “irreconcilable conflict,” or where the

                   14    latter Act covers the whole subject of the earlier one and “is clearly intended as a substitute.”

                   15    Posadas v. National City Bank, 296 U. S. 497, 503 (1936). Nor should the court find that the

                   16    generalized language of IEEPA, which does not even mention tariffs, supersedes the specific

                   17    language of laws granting the executive branch only circumscribed authority to impose tariffs.

                   18           The more specific tariff-authorizing statutes cannot support the President’s current action

                   19    either. The President has not specifically invoked the authority of Trade Act of 1974 or the Trade

                   20    Expansion Act in support of his April 2 tariffs, and for good reason. Section 122 of the Trade Act

                   21    authorizes import surcharges of 15% for no more than 150 days “to deal with large and serious

                   22    United States balance-of-payments deficits.” President Trumps’s tariffs exceed that limit and

                   23    would last far longer. Section 201 is even farther afield. It allows targeted tariff increases upon a

                   24    finding by the United States International Trade Commission that increased imports of a product

                   25    are causing substantial injury to the domestic industry producing that product. There have been no

                   26    such findings here. Indeed, across-the-board tariffs of 10% on all imports – including nations

                   27    where the United States enjoys a trade surplus – bear no resemblance to the targeted tariff

                   28    increases contemplated by this provision. Section 301 of the Act authorizes “duties or other
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                    1    import restrictions” on foreign nations that have been found—after notice and investigation—to

                    2    have committed unfair trade practices or violated trade agreements with the United States. There

                    3    have been no such investigations, and no notice to the nations involved. In any event, this

                    4    provision has largely been superseded by investigations and proceedings under the World Trade

                    5    Organization framework. Section 232 of the Trade Expansion Act concerns national security

                    6    threats, yet no plausible finding has been made—or could be made—that every product from

                    7    every nation in the world poses such a threat. The Administration has not even invoked these

                    8    statutes in support of the tariffs at issue. Their existence, however, makes it even more

                    9    implausible that IEEPA silently conveys limitless powers that these statutes convey only through

                   10    express, narrow limits and accompanied by procedural safeguards.

                   11           B.      Congress Deliberately Rejected Tariff Authority In IEEPA.
                   12           The context of the enactment of IEEPA makes clear that Congress did not intend to

                   13    delegate tariff authority to the President. On the contrary, Congress enacted IEEPA in 1977 in

                   14    response to President Richard Nixon’s unprecedented assertion of the authority to increase tariffs

                   15    under the Trading With The Enemy Act of 1917 (TWEA), Pub. L. No. 65-91, 40 Stat. 411

                   16    (1917), in 1971. The TWEA, a World War I–era statute that originally applied only in wartime,

                   17    gave the President authority to impose economic sanctions against other nations whose actions

                   18    threaten our national security. The TWEA did not mention tariffs, and until 1971 was never

                   19    invoked by any President to impose them.

                   20           In that year, President Nixon declared a national emergency and imposed a 10% import

                   21    surcharge (an extra tariff), purportedly under the authority of the TWEA. Nixon asserted that

                   22    language in the TWEA allowing the executive to “regulate . . . imports . . . by means of

                   23    instructions, licenses, or otherwise” was broad enough to permit him to add a 10% surcharge to

                   24    the existing tariffs that had been imposed by Congress. This surcharge lasted less than five

                   25    months; it was withdrawn in December 1971. A zipper importer, Yoshida International, filed a

                   26    lawsuit challenging the legality of the surcharge and seeking a refund of taxes paid. By the time a

                   27    court could render a decision, the import surcharge had lapsed. Although a three-judge panel of

                   28    the Customs Court concluded that the tariff surcharge was illegal, Yoshida Int’l, Inc. v. United
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                    1    States, 378 F.Supp. 1155 (C.C. 1974), the Court of Customs and Patent Appeals later reversed,

                    2    upholding Nixon’s action. It found that TWEA’s “express delegation” of power to the President

                    3    “is broad indeed,” such that the power to impose tariffs could be inferred from the power to

                    4    “regulate” imports during a crisis, in the absence of any statute “’providing procedures’ for

                    5    dealing with a national emergency involving a balance of payments problem such as that which

                    6    existed in 1971.” Yoshida Int’l, Inc. v. United States, 526 F.2d 560, 574–75 (C.C.P.A. 1975),

                    7    quoting Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579 (1952) (“legislation delegating

                    8    restrictive regulatory authority cannot operate, merely upon the declaration of an emergency, to

                    9    the exclusion of other legislative acts providing procedures prescribed by the Congress for the

                   10    accomplishment of the very purpose sought to be attained by Presidential Proclamation”). 2

                   11           While the Yoshida litigation was still pending, Congress passed just such a statute. It

                   12    repealed the TWEA, replacing it with the Trade Act of 1974, Pub. L. No. 93-618, § 122, 88 Stat.

                   13    1978, 1991 (codified at 19 U.S.C. § 2132), which for the first time gave the executive explicit

                   14    authority to revise tariffs in response to trade deficits – the very power President Nixon had

                   15    asserted under the TWEA, subject to strict substantive and procedural guardrails. The Trade Act

                   16    allowed the President to increase tariffs through an emergency import surcharge, but capped such

                   17    surcharges at 15% and permitted them to last no more than 150 days in the absence of

                   18    “affirmative authorization” by Congress. Id. Moreover, the Act required specific findings of

                   19    unfair trade practices by the nations subject to the surcharges. Congress thus made clear that if a

                   20    President is to have any emergency tariff power, it must come from a specifically tailored statute

                   21    with clear parameters, not an open-ended mandate.

                   22           Only after Congress passed the Trade Act did the Court of Customs and Patent Appeals

                   23    reverse the trial court’s holding that the TWEA did not authorize presidential tariff increases.

                   24
                         2
                   25      In Yoshida, the court upheld President Nixon’s import surcharge precisely because it adhered to
                         previously established congressional tariff limits. Nixon’s surcharge applied only to goods
                   26    already benefiting from tariff reductions, and crucially, rates could never exceed Congress’s
                         original statutory maximum. By contrast, President Trump’s tariffs far exceed any previously
                   27    authorized congressional tariff ceilings, are not limited to goods previously receiving tariff
                         concessions, and impose new duties broadly and independently from any prior legislative
                   28    framework. This difference underscores why the Yoshida precedent does not support the
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                         Administration’s expansive interpretation of executive tariff power here.
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                    1    Yoshida, supra. By that time, Congress had already enacted a carefully limited tariff authority,

                    2    which superseded the TWEA.

                    3           Congress then enacted IEEPA. Having just enacted an explicit, and tightly limited, tariff

                    4    authority through the Trade Act, Congress did not incorporate any tariff language into IEEPA.

                    5    Congress’s decision in 1977 to retain TWEA’s general language (“regulate importation…”) in

                    6    IEEPA without adding any tariff-specific provision strongly suggests that lawmakers did not

                    7    regard IEEPA as a vehicle for import taxes. Congress had already “provided procedures” for

                    8    emergency tariffs. Yoshida and those procedures – not IEEPA – would govern future imposition

                    9    of tariffs “dealing with a national emergency involving a balance of payments problem.” 526 F.2d

                   10    at 578. IEEPA was meant for other tools of economic sanctions (like freezing assets or

                   11    embargoing particular transactions), not for across-the-board duties.

                   12           Congress further cut back on the power previously imparted by the TWEA in two ways.

                   13    First, it confined the original TWEA power to wartime, as had been the case between 1917 and

                   14    1933. See 50 U.S.C. § 4302. In peacetime, the President was permitted to impose regulations

                   15    (with no mention of tariffs) on imports only upon a declaration of emergency under the

                   16    Emergencies Act, which would be subject to fast-track review and invalidation by Congress. See

                   17    Thronson, 46 U. Mich. J. L. Ref. at 743-53. This effectively barred any future action of the sort

                   18    taken by President Nixon, unless it was approved by Congress.

                   19           Over a decade later, the Supreme Court declared legislative vetoes (like the one employed

                   20    in the Emergencies Act) unconstitutional, which stripped Congress of the central safeguard it had

                   21    enacted in 1977. INS v. Chadha, 462 U.S. 919 (1983). It is nonetheless a fallacy to impute to

                   22    Congress the intention to give the President unilateral tariff authority, when Congress voted

                   23    specifically to subject any such decisions to congressional review.

                   24           The House Committee Report leaves no ambiguity: IEEPA was designed to provide “a

                   25    new set of authorities for use in time of national emergency which are both more limited in scope

                   26    than those of [TWEA] and subject to various procedural limitations.” H.R. Rep. No. 95-459, at 2

                   27    (1977) (emphasis added). The Report expressed Congress’s view that President Nixon had used

                   28    the TWEA for purposes “which would not be contemplated in normal times.” Id. at 5. The
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                    1    Senate Committee Report similarly emphasized that IEEPA should not be read to provide “a

                    2    blank check for presidential control over the economy.” S. Rep. No. 95-466, at 5–6 (1977).

                    3           Nothing in IEEPA’s legislative history suggests that Congress intended to give the

                    4    President tariff-making power. The House Report accompanying the bill identified the key

                    5    powers carried over from TWEA that were deemed necessary for emergencies: controls on

                    6    foreign exchange transactions, banking transfers, and securities; regulation of property in which

                    7    foreign nationals have an interest; vesting (seizing) foreign-owned property; and handling or

                    8    liquidating such property for the United States’ benefit. See H.R. Rep. No. 95-459, at 1–2 (1977).

                    9    Notably absent from that list is any power to raise import duties or impose new tariffs. In fact,

                   10    tariffs are only addressed in a historical discussion of past uses of TWEA, not as a contemplated

                   11    feature of IEEPA. See id. at 5–6.

                   12           C.      The Government’s Contrary Arguments Lack Merit.
                   13           The slender thread on which the government bases its reliance on IEEPA is that Congress

                   14    used the same the term, “regulate . . . imports,” in IEEPA that had been present in the TWEA, and

                   15    which Yoshida held had supported Nixon’s tariff surcharges. The government asks this court to

                   16    infer that IEEPA has the same meaning as the TWEA and that Congress must have embraced the

                   17    broad interpretation of that language in Yoshida. There are multiple reasons to reject that

                   18    argument.

                   19           First, the court should interpret IEEPA in light of its language, and not according to

                   20    speculation that Congress might have accepted the interpretation given by one lower court to a

                   21    different statute, now repealed. That is especially clear because we know that Congress explicitly

                   22    set out to cabin that authority, and substitute authorities “which are both more limited in scope

                   23    than those of [TWEA] and subject to various procedural limitations.” H.R. Rep. No. 95-459, at 2

                   24    (1977). It would turn the congressional intention on its head to read IEEPA as preserving the

                   25    same unbridled power that Nixon had asserted.

                   26           Second, the court should not read IEEPA as giving the President sweeping tariff powers

                   27    when Congress had just enacted the Trade Act, which subjected presidential tariff authority to

                   28    strict substantive and procedural limits. The government’s interpretation would amount to an
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                    1    implied repeal of the Trade Act and virtually every other tariff-specific delegation of power. As

                    2    Justice Frankfurter noted in Youngstown, “It is quite impossible, however, when Congress did

                    3    specifically address itself to a problem, as Congress did to that of seizure, to find secreted in the

                    4    interstices of legislation the very grant of power which Congress consciously withheld.” 343 U.S.

                    5    at 609.

                    6              Third, the Yoshida court expressly repudiated the notion that the TWEA empowered the

                    7    President to “impos[e] whatever tariff rates he deems desirable,” which is the power claimed by

                    8    the government in this case. Yoshida, 526 F.2d at 578. The court emphasized the narrow and

                    9    time-limited nature of the Nixon tariff surcharge, and limited its holding accordingly. The court

                   10    noted that Nixon’s Executive Order “was limited to articles which had been the subject of prior

                   11    tariff concessions” and that the total tariff, with the surcharge, could not exceed the amount

                   12    Congress had enacted in “column 2 of the Tariff Schedules of the United States.” Id. at 577. The

                   13    surcharge lasted less than five months. “Far from attempting, therefore, to tear down or supplant

                   14    the entire tariff scheme of Congress, the President imposed a limited surcharge, as ‘a temporary

                   15    measure’ calculated to help meet a particular national emergency.” Id. Indeed, the court suggested

                   16    that such a broad interpretation might render the statute unconstitutional. Id. at 580-583. To make

                   17    this point crystal clear, the court declared that “[t]he declaration of a national emergency is not a

                   18    talisman enabling the President to rewrite the tariff schedules.” Id. at 583. Thus, even if this court

                   19    were to conclude that Congress somehow incorporated the Yoshida court’s interpretation of the

                   20    TWEA into the new IEEPA statute, this would not support the government’s extravagant claim of

                   21    an unlimited power to set tariffs in any declared emergency.

                   22              The Yoshida court further emphasized, no fewer than four times in its opinion, that the

                   23    generalized provisions of the TWEA could be read to authorize President Nixon’s action only

                   24    because there then existed no statute containing “procedures prescribed by the Congress for the

                   25    accomplishment of the very purpose sought to be attained by [the presidential order].” 526 F.2d at

                   26    570, 578. A specific statute would govern instead of the TWEA. Congress thus knew that its

                   27    enactment of precisely such procedures in the Trade Act of 1974 would preclude a finding of

                   28    generalized tariff authority under the TWEA, under the logic and holding of Yoshida.
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                    1            The government simply ignores the congressional opposition to the Nixonian tariffs, the

                    2    enactment of time-limited and procedurally limited tariff authority in the Trade Act, and the

                    3    elimination of unilateral presidential emergency authority through the fast-track congressional

                    4    disapproval mechanism of the Emergency Act. To be sure, the congressional disapproval

                    5    procedure was rendered ineffective by the Chadha decision, but that decision came a decade later,

                    6    and it defies reason to impute to Congress the intention to give to the President precisely the

                    7    unilateral authority it so carefully (if ineffectually) curtailed.

                    8            D.      These Tariffs Are Permanent Policy Rather Than Emergency Measures.
                    9            IEEPA was enacted to enable short-term, targeted responses to genuine, extraordinary

                   10    threats—not to authorize permanent alterations to the nation’s trade regime. Its very title—the

                   11    International Emergency Economic Powers Act—underscores this purpose: to grant the

                   12    Executive narrow powers to act swiftly during unforeseen emergencies. It is not a tool for

                   13    addressing long-standing policy concerns or for implementing structural reforms that require

                   14    legislative debate.

                   15            The tariffs imposed by the President in April 2025 are plainly at odds with that purpose.

                   16    They are not tied to a discrete or time-sensitive emergency. Nor are they temporary. On the

                   17    contrary, they are designed to remain in effect indefinitely and to respond to broad, persistent

                   18    conditions—such as global supply chain realignment, foreign industrial policy, and chronic trade

                   19    imbalances—that the Administration claims threaten American economic security in a general

                   20    and enduring way.

                   21            President Trump has made no effort to conceal this long-term intent. He has explicitly

                   22    defended his tariff policy as a corrective to economic trends spanning more than two decades.

                   23    The official White House Fact Sheet explains that the President invoked IEEPA to address “the

                   24    national emergency posed by the large and persistent trade deficit.” It claims that “[f]or

                   25    generations, countries have taken advantage of the United States,” and cites the loss of “around 5

                   26    million manufacturing jobs” from 1997 to 2024—a 27-year period. It also references Chinese

                   27    trade practices “between 2001 and 2018”—conduct that began nearly a quarter century ago and

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                    1    concluded seven years prior. 3 These are not unforeseen emergencies. They are longstanding

                    2    policy grievances, best addressed by Congress—not by emergency proclamation.

                    3           The Administration has also touted these tariffs as a means of generating long-term

                    4    revenue. On April 2, President Trump predicted that the tariffs would generate “trillions and

                    5    trillions of dollars to reduce our taxes and pay down our national debt.” The Chair of the Council

                    6    of Economic Advisors echoed this aim, stating that “tariffs will help pay for both tax cuts and

                    7    deficit reduction.” 4 But tax cuts and budget deficits—however important—are not “unusual and

                    8    extraordinary threat[s]” under IEEPA. 50 U.S.C. § 1701(a). They are routine subjects of political

                    9    debate and legislative negotiation. Their invocation here confirms that these tariffs are not

                   10    temporary emergency measures, but a shift in fiscal and trade policy pursued through unilateral

                   11    executive action.

                   12           E.      No President Has Ever Used IEEPA This Way.
                   13           The Supreme Court has cautioned that “[w]hen an agency claims to discover in a long-

                   14    extant statute an unheralded power to regulate ‘a significant portion of the American economy,’

                   15    … we typically greet its announcement with a measure of skepticism.” Util. Air Regul. Group

                   16    (UARG) v. EPA, 573 U.S. 302, 324 (2014) (quoting FDA v. Brown & Williamson Tobacco Corp.,

                   17    529 U.S. 120, 159 (2000)). That skepticism is warranted here. In the nearly five decades since its

                   18    enactment, IEEPA has never been used to impose a general tariff. Presidents have invoked it to

                   19    freeze assets, block financial transfers, and impose targeted sanctions on hostile regimes and

                   20    individuals. But never to levy broad-based duties on imports. That settled practice confirms what

                   21    the statute’s text and legislative record already show: Congress did not grant tariff authority.

                   22           F.      The Court Has Repeatedly Rejected Sweeping Power From Ambiguous Text.
                   23           In matters of vast political and economic consequence, the Supreme Court insists on

                   24
                         3
                   25      See Fact Sheet: President Donald J. Trump Declares National Emergency to Increase Our
                         Competitive Edge, Protect Our Sovereignty, and Strengthen Our National and Economic
                   26    Security, The White House (Apr. 2, 2025), https://www.whitehouse.gov/fact-sheets/2025/04/fact-
                         sheet-president-donald-j-trump-declares-national-emergency-to-increase-our-competitive-edge-
                   27    protect-our-sovereignty-and-strengthen-our-national-and-economic-security/.
                         4
                           CEA Chairman Steve Miran, Hudson Institute Event Remarks, The White House (Apr. 7, 2025),
                   28    https://www.whitehouse.gov/briefings-statements/2025/04/cea-chairman-steve-miran-hudson-
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                    1    unmistakable legislative authority before allowing the Executive Branch to act. It is not a novel

                    2    doctrine but a longstanding interpretive principle: it is improbable that Congress means to transfer

                    3    vast swaths of its constitutional power without saying so directly. General language will not

                    4    suffice. The point here is not (as with the nondelegation doctrine) to limit Congress’s ability to

                    5    legislate, but to protect Congress from having its words twisted to unintended purposes.

                    6           That principle, dubbed the “major questions doctrine,” applies with full force here. The

                    7    President has proclaimed a fundamental reordering of U.S. trade policy: a baseline 10% tariff on

                    8    nearly all imports, a 34% tariff on Chinese goods, and a 25% tariff on foreign automobiles—

                    9    without new legislation or specific congressional approval. The asserted authority rests on

                   10    statutory language not enacted for this purpose and never before used in this way. That, under

                   11    binding precedent, is not enough.

                   12           The Court applied this principle decades ago in Brown & Williamson. There, it rejected

                   13    the FDA’s attempt to regulate tobacco under broad statutory language, noting that Congress had

                   14    legislated extensively in the area without granting that power. “[Congress] could not have

                   15    intended to delegate a decision of such economic and political significance in so cryptic a

                   16    fashion.” 529 U.S. at 160. The Court refused to assume that Congress had granted sweeping

                   17    authority without saying so. As the Court warned, Congress does not “hide elephants in

                   18    mouseholes.” Whitman v. Am. Trucking Ass’ns, 531 U.S. 457, 468 (2001).

                   19           In Alabama Ass’n of Realtors v. Dep’t of Health & Hum. Servs., 594 U.S. 758 (2021), the

                   20    Court struck down the CDC’s attempt to extend a nationwide eviction moratorium under general

                   21    public health authority. The relevant statute allowed measures to prevent disease transmission,

                   22    but none of the enumerated measures bore any resemblance to moratorium on evictions. That

                   23    mattered. The Court emphasized that sweeping economic actions require unmistakable legislative

                   24    approval—particularly where Congress had considered and declined to extend the policy itself.

                   25    The CDC’s reliance on broad language was not enough.

                   26           Similarly, Nat’l Fed’n of Indep. Bus. v. Dep’t of Labor, 595 U.S. 109 (2022), invalidated

                   27    OSHA’s nationwide vaccine-or-test mandate, holding that such a significant policy required

                   28    explicit congressional authorization. Though OSHA invoked its general authority to regulate
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                    1    workplace safety, the Court found that such sweeping measures could not rest on generalized

                    2    statutory terms. The Executive may not transform a broad statute into a blank check for

                    3    nationwide regulation—particularly when fundamental personal and economic rights are at stake.

                    4           The situation here is analogous to these cases. Like the CDC, the President relies on a few

                    5    generalized words (“regulate” and “importation”) in a statute designed for narrow, targeted

                    6    emergencies to justify a dramatic, long-term economic intervention. And as in Alabama

                    7    Association, Congress has not merely failed to speak clearly—it has expressly declined to

                    8    authorize the action now claimed. Cf. Youngstown, 343 U.S. at 586 (noting that Congress had

                    9    considered and declined to grant the President authority to seize private property in response to

                   10    labor disputes). When faced with Richard Nixon’s unprecedented assertion of a unilateral tariff

                   11    power under the TWEA, Congress repealed the TWEA and replaced it with the Trade Act, which

                   12    allowed adjustment of tariffs under strict procedural, substantive, and temporal limitations,

                   13    enacted IEEPA to address non-tariff economic sanctions, and subjected all emergency

                   14    declarations to direct congressional control. That history cannot be rewritten by implication or

                   15    executive interpretation.

                   16           Interpreting IEEPA to authorize tariffs would also invite a grave nondelegation problem.

                   17    The statute supplies no intelligible principle to guide the President in determining when, how, or

                   18    to what extent duties should be imposed If construed to allow the imposition of tariffs without

                   19    meaningful limits or standards, IEEPA would amount to an open-ended delegation of legislative

                   20    power—precisely what the nondelegation doctrine forbids. In J.W. Hampton, Jr. & Co. v. United

                   21    States, 276 U.S. 394 (1928), the Court upheld a tariff delegation only because it was governed by

                   22    an “intelligible principle” and confined to narrow bounds. As the Court explained in Whitman v.

                   23    American Trucking Associations, Congress must “lay down by legislative act an intelligible

                   24    principle to which the person or body authorized to [act] is directed to conform.” 531 U.S. 457,

                   25    472 (2001) (citation omitted). That principle is absent here with respect to trade duties.

                   26                                              CONCLUSION
                   27           The Court should reject the government vision of executive power—not merely because it

                   28    lacks statutory support, but because it permits arbitrary taxation untethered from the constitutional
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                                                                                              JOINT BRIEF OF AMICI CURIAE ISO PL’S
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                    1    processes designed to safeguard liberty. The separation of powers remains the first and strongest

                    2    safeguard of liberty in a constitutional republic. It must be upheld here.

                    3           The Court should grant plaintiffs’ request for relief because plaintiffs are likely to succeed

                    4    on the merits.

                    5    Dated: May 19, 2025                                 CROWELL & MORING LLP
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                                                                             By: /s/ Warrington S. Parker III
                    7                                                            Warrington S. Parker III
                                                                                 Joanna Rosen Forster
                    8
                         Dated: May 19, 2025                                 MICHAEL W. MCCONNELL
                    9

                   10                                                        By: /s/ Michael W. McConnell
                                                                                 Michael W. McConnell
                   11
                                                                             Attorneys for AMICI CURIAE
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